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             EXHIBIT 18
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                EXHIBIT 15
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1(202) 551-1901
karthikkasaraneni@paulhastings.com

December 22, 2023

Via E-Mail

Annaleigh E. Curtis
Wilmer Cutler Pickering Hale and Dorr LLP
60 State Street
Boston, Massachusetts 02109

Re:    Moderna TX, Inc. et al. v. Pfizer Inc. et al., 1:22-cv-113878-RGS (D. Mass.)

Dear Annaleigh:

We write in response to your December 12 letter regarding the documents that BioNTech clawed
back during the depositions of                     . (December 12 Letter from A. Curtis to
Counsel.)

BioNTech properly clawed back five inadvertently produced privileged documents (grouped by
Moderna into three exhibits). Two of these documents were slides expressly labeled “Privileged
and Confidential” when they were created by U.S. law firm                              . The other
three were the two emails to which the          slides were attached, which included specific
requests from           to BioNTech scientists about those slides, and a third email from a
BioNTech scientist in response. Each email was sent at              request to facilitate its
provision of legal advice to BioNTech. Accordingly, BioNTech clawed the documents back in
accordance with the procedures set out in Paragraphs 9.1-9.3 of the stipulated Protective Order
(D.I. 67), to which Moderna agreed, and which Moderna has itself repeatedly used throughout
this case (e.g., July 19 Email from N. Xu to Counsel; September 8, October 2, October 16,
October 30, November 8, November 9, November 16, November 21, November 30, and
December 4 Letters from D. Patel to T. Selby and B. Wexler; December 15 Email from G.
Salvatore to Counsel; December 18 Email from A. Curtis to Counsel; December 20 Email from
M. Laupheimer to Counsel).

According to the Protective Order, “Upon discovery by a Producing Party (whether by notice
from the Receiving Party or otherwise) that it did or may have produced Privileged Information,
the Producing Party shall, within five business days of such discovery, request the return or
deletion of such Privileged Information.” (D.I. 67, ¶ 9.2.) The Protective Order also specifically
deals with claw-backs during depositions, stating: “If the Producing Party discovers that
Privileged Information has been inadvertently produced based upon the Receiving Party’s use of
such information during a deposition . . . , the Producing Party may orally request the destruction
of the information.” (Id.) Moreover, under the Protective Order, Moderna had a duty to refrain
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from using the documents in question at any deposition once it had detected that they or their
attachments were labeled “Privileged and Confidential,” and to instead notify BioNTech of the
inadvertent production. (D.I. 67, ¶ 9.3(f); D. Mass. L. R. 83.6.1; Mass. R. Prof. C. 4.4(b).)

You observe that Moderna identified five other documents in October, which were not labeled
“Privileged and Confidential” and differ from the documents BioNTech would claw back at the
                  depositions. There was nothing improper about BioNTech referencing two of
the nonprivileged documents Moderna identified in October in response to Moderna’s
questioning during              deposition. This is not “cherry picking.” Instead, it shows only
that Moderna knew it could ask whether or not specific documents are privileged, yet chose not
to do so for two documents even though they were expressly labeled “Privileged and
Confidential,” and to instead use them at multiple depositions in conflict with the Protective
Order.1

To be clear, BioNTech is not relying on privileged documents in this case. We trust that this
letter will resolve this issue, and we reserve all rights to the extent Moderna continues to rely on
its improper use of documents expressly marked “Privileged and Confidential” at depositions.

I.     THERE HAS BEEN NO WAIVER

On October 12, Moderna sent an email inquiring whether five—and only five—specific
documents were privileged. (October 12 Email from A. Curtis to Counsel.) Moderna did not
ask about any particular subject matter contained in those five documents. (Id.) Upon review,
BioNTech promptly responded that it “[did] not presently make a claim of privilege over the five
specific documents listed in your email below.” (October 18 Email from R. Hilgar to Counsel.)
In doing so, BioNTech expressly noted that “[t]his response should not be construed, expressly
or impliedly, as stating any position with respect to any other documents or information,
including any documents or information that may be related to these documents.” (Id. (emphasis
added).) BioNTech also reserved its rights should additional information or circumstances come
to light. (Id.) In fact, as noted in Ms. Hilgar’s email, to the best of BioNTech’s knowledge, no
privilege attached to these five specific documents, and thus, no privilege could have been
waived.

Moderna’s December 12 letter is wrong to assert that BioNTech’s response waived attorney-
client privilege over any                                                       (See December
12 Letter from A. Curtis to Counsel at 3-4.) It ignores the limited request of Moderna’s October

1
 Privilege does not depend on documents being marked as such, but these particular documents
were, which should have prompted Moderna to refrain from using them without first inquiring
with BioNTech about their status.
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12 email, and the content of BioNTech’s October 18 reply. If your intent was to ask about these
specific documents in October in anticipation of using different documents labelled “Privileged
and Confidential” at depositions in December, and to then argue that the October communication
implicated those later documents, that would raise serious questions of engaging in misleading
omissions of material facts.

The privilege analysis, as you know, involves both determining the involvement of legal counsel,
and the content of the particular communication itself. As your letter notes, each of the five
specific documents you identified in October were                                             .
(October 12 Email from A. Curtis to Counsel at 1-2.2)                             , and from an
investigation into the available facts about whether these communications relayed an attorney’s
legal advice, or a request from an attorney to facilitate provision of legal advice, BioNTech
determined that a privilege claim was not warranted for those five specific documents.
BioNTech did not “cherry pick” the five documents that Moderna itself identified to BioNTech.

II.    THE DIFFERENT DOCUMENTS BIONTECH CLAWED BACK AT THE
                 DEPOSITIONS

BioNTech disagrees that the exhibits clawed back at                            depositions had
“content similar to” the ones Moderna identified in October. In particular, as noted above, they
are documents created by outside counsel or communications requested by outside counsel to
facilitate the provision of legal advice, and were expressly labeled “Privileged and Confidential.”

At             December 4 deposition, BioNTech clawed back two privileged exhibits,
comprising an email thread dated August 17-19, 2020 and its attachment. (   Tr. 270:20-




2
 Moderna states that it relies on certified translations of BNT_COMIR_1339967 and
BNT_COMIR_1379459. (Id. at 1-2 nn.1-2.) Please provide those translations.
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278:19; BNT_COMIR_13806773; BNT_COMIR_1420474-76.)4 Notably, and as stated by
BioNTech’s counsel on the record during the deposition, these documents were marked by
attorneys as “Privileged and Confidential.”5 As further noted on the record, in the clawed-back
exhibits,              emailed                        and fellow BioNTech scientist
          a request and slides from outside counsel. (         Tr. 277:11-23 (Counsel for
BioNTech: “I’m looking at this attached line which says, ‘Privileged and Confidential.’ . . . [I]t
looks like this was a document . . . where outside counsel has asked
              so that they can provide legal advice. It’s reflecting . . . a request for legal
opinion.”)) On December 8, BioNTech further explained to Moderna that the exhibits were

                                                                                  and
                                                                          (BioNTech’s Third
Supplemental Privilege Log at Entry Nos. 25-27.) In August 2020,


3
  Moderna suggests that, because it cited BNT_COMIR_1380677 among “several” documents
on November 17 in response to a Pfizer interrogatory, BioNTech should have clawed it back
before                December 4 deposition. But Moderna cited the document in response to a
Pfizer interrogatory, not a BioNTech interrogatory. And Moderna’s citation of a document
among many others in an interrogatory response is not notice pursuant to Paragraph 9.3(f) of the
Protective Order. Moreover, the string-cited BNT_COMIR_1380677 did not contain the
“Privileged and Confidential” marking that prompted the claw-back; it was the slides attached to
the previous email in the thread that did. In other words, Moderna appears to have picked pages
to cite that did not contain the “Privileged and Confidential” designation. When Moderna
introduced BNT_COMIR_1380677 at                       deposition, followed by the email and
attachment—labeled “Privileged and Confidential”—to which BNT_COMIR_1380677 was
responding, BioNTech recognized that all three were inadvertently produced privileged
communications and immediately clawed them back in accordance with the Protective Order.
(D.I. 67, ¶ 9.2.)
4
  Except to the extent necessary to examine the basis of the privilege claim, Moderna should not
be discussing the content of the clawed-back documents, just as BioNTech refrains from doing
for Moderna’s claw-backs. (D.I. 67, ¶ 9.3.)
5
  In a footnote, your letter suggests that, because these attorneys “do not appear in the ‘Author or
From,’ ‘To,’ ‘CC,’ or ‘BCC’ fields of the privilege log,” that the privilege claim is somehow
improper. (December 12 Letter from A. Curtis to Counsel at 4 n.4.) Elsewhere you suggest that
“numerous” other entries on BioNTech’s privilege log do not identify an attorney, but cite no
examples. (Id. at 5.) BioNTech has conducted a careful investigation to ensure that its privilege
log entries are accurate. BioNTech’s log is far more robust than Moderna’s, and we reserve the
right to apply any criticism of BioNTech’s log to Moderna’s. (See, e.g., November 22 Letter
from M. Liu to A. Curtis.)
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were attorneys at the U.S. law firm                              who provided legal advice to
BioNTech.

At              deposition just two days after             , despite being fully aware that
BioNTech did indeed claim privilege over the outside counsel slides marked “Privileged and
Confidential” that were attached to               August 17, 2020 emails, the same Moderna
attorney nonetheless attempted to introduce another August 17, 2020 email from                 to
three BioNTech scientists with an attached slide labeled “Privileged and Confidential.” (
Tr. 219:24-222:8; BNT_COMIR_1388847-48.) BioNTech’s counsel again noted on the record:
“[I]t’s clearly marked ‘privileged and confidential,’ and I am aware of discussions that
BioNTech was having with outside counsel at this time period regarding                      .”
(       Tr. 220:23-221:3.) Moderna’s counsel should not have tried to seek testimony from
       on a document that Moderna’s counsel knew was marked “Privileged and Confidential,”
and over which Moderna’s counsel knew BioNTech would assert a claim of privilege. In doing
so, Moderna violated the Protective Order by not refraining from using documents labeled with a
claim of privilege. (D.I. 67, ¶ 9.3(f).)

III.   BIONTECH IS NOT USING PRIVILEGE AS BOTH A SWORD AND A SHIELD

BioNTech’s reference to two of                  nonprivileged communications from 2018 during
             redirect has no bearing on whether different communications from 2020 that are
attributable to outside counsel are privileged. Nor do other documents that fail to involve a
lawyer, or provide or reflect advice of a lawyer, such as various documents Moderna has used for
examinations. E.g., BNT_COMIR_1379559. There is nothing inconsistent about BioNTech’s
treatment of nonprivileged email threads—each of which Moderna first identified—nor can it
support Moderna’s new narrative that BioNTech was “selectively cherry-picking documents it
views as helpful while withholding others.”6

If Moderna wishes to purse this meritless issue any further, we are available to meet and confer
today, other than from 2:30 pm to 4 pm EST. At such meet and confer, please be prepared to




6
  There is no dispute that
                       was an item of public information known or reasonably available to
BioNTech, and BioNTech denies that it was improper to prepare its Rule 30(b)(6) representative
for the broad topic of
       with                        . See Fed. R. Civ. P. 30(b)(6). This does not and cannot
constitute a waiver of attorney-client privilege. Nor would this be a waiver with regard to
unrelated privileged documents referring or relating to                   .
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discuss Moderna’s violations of the Protective Order by using specific documents marked
“Privileged and Confidential” at depositions without first providing notice of its intent to do so.


Sincerely,

/s/ Karthik R. Kasaraneni

Karthik R. Kasaraneni
for PAUL HASTINGS LLP


KRK
